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ACCORDINGLY, THE COURT HEREBY:

        I.      GRANTS the Motion, (ECF No. 21);

        2.      ENTERS default judgment against Interworks for $2,000,000.00 for
                compensatory damages, attorneys' fees pursuant to Va. Code Ann. § 59.1-206,
                and pre-judgment and post-judgment interest;

        3.      RETAINS jurisdiction over any matter pertaining to this judgment; and,

        4.      DISMISSES this case, and the Clerk of Court shall remove it from the Court's
                docket. This is a final appealable order. See Fed. R. App. P. 4(a).

        Let the Clerk send a copy of this Order to all counsel of record and Interworks at its

address of record.

        It is SO ORDERED.




Date: \ \ - '2 3 - 2 \
Richmond, Virginia
                                                     M. Hanna
                                                     United St::   1=     Judge




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